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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                 v.
                                             Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                                Defendant



                 GOVERNMENT’S RESPONSE TO ORDERS OF THE COURT

         The United States of America, by and through the U.S. Attorney for the District of

Columbia, respectfully provides the following responses to the Court’s two Minute Orders issued

on May 16, 2019. First, as discussed below, the government hereby attaches a transcript of the

“voicemail recording” referenced in the Addendum to the Government’s Memorandum in Aid of

Sentencing. Second, the government represents that there are no additional unredacted portions

of the Special Counsel’s Report On The Investigation Into Russian Interference In The 2016

Presidential Election (hereinafter “the Report”) that are responsive to the Court’s second Minute

Order.

         I.       Background

         On May 16, 2019, the Court issued two Minute Orders, sua sponte, after the government

had moved to unseal portions of certain records that the parties had relied on in their sentencing

memoranda prior to the defendant’s initial sentencing hearing on December 18, 2018.

         The Court first ordered the government to file on the public docket the transcript of the

“voicemail recording” referenced in the Addendum to the Government’s Memorandum in Aid of

Sentencing [ECF No. 75] (“Addendum”). The Court further ordered that the government
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publicly file transcripts of any other audio recordings of the defendant, including but not limited

to audio recordings of the defendant’s conversations with Russian officials. The Court also

ordered that the government submit to the Court’s chambers audio versions of any such

recordings.

          The Court’s second Minute Order directed that the government file the publicly-available

version of the Report on the public docket by May 17, 2019; the government complied with that

order. The Court further ordered the government to file on the public docket “an unredacted

version of those portions of the [R]eport that relate to the” defendant.

          II.    Response

          With respect the “voicemail recording” referenced in the Addendum, the government has

attached a transcript of that recording. See Attachment 1. The government also clarifies that the

“voicemail recording” is the same recording excerpted in Volume II of the Report—that is, a

message left by the President’s personal counsel for the defendant’s attorneys. See Report,

Volume II, p. 121. The defendant provided the recording to the government pursuant to his plea

agreement. Simultaneously, the government is furnishing the Court’s chambers with the audio

version of the “voicemail recording.” The government further represents that it is not relying on

any other recordings, of any person, for purposes of establishing the defendant’s guilt or

determining his sentence, nor are there any other recordings that are part of the sentencing

record.

          With respect to the Report, the government represents that all of the information in the

Report that the defendant provided to the Special Counsel’s Office has been unredacted, as has

all of the information in the Report that others provided about the defendant. In those sections

where the defendant’s conduct is discussed, limited remaining redactions pertain to the sourcing



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of information, such as references to grand jury subpoenas. See, e.g., Report, Volume I, pp. 169-

72.

                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    U.S. Attorney for the District of Columbia

                                                    By: /s/

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Dated: May 31, 2019




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                             CERTIFICATE OF SERVICE


       I, Brandon L. Van Grack, certify that I served a copy of the foregoing electronically to
counsel of record for the defendant on May 31, 2019.




                                           ______/s/_______________
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